            Case 3:08-cr-00045-LRH-VPC                 Document 94         Filed 09/22/09     Page 1 of 5
AO 2458 (Rev.09/08)Judgmcntin aCrlminalCasc
         Sheet1

                                          IJNITED STATES
                                                DISTRI    DISTRI
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UNITED STATESOFAMERICA                        JUDGMENT IN A CRIMINAL CASE                     î SEF'
                                                                                              j                                          !
            vs .                                                                              !                    2 2 25()9 j
                                                                                                                             j
MICHAELSTRAIN                                 CA
                                              usu
                                                SENNIJ
                                                     UMB
                                                      MBEE
                                                         RR:: 3:
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                                                              43113-048
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                                                                                                      I
                                              Steve Sexton                             8Y2                -   .             .   c - .-
                                                                                                                                         DEFf
                                                                                                                                            JTY
THE DEFENDANT:                                DEFENDAN'I''S ATTORNEY

(J) pledguiltytoM isdemeanorlnfonnation
()      plednolocontenderetocountts)                                          whichwasaccepted by,theeourt.
()      wasfoundguilty oncountts)                                             afterapleaofnotguilt'y.
Thedefendantisadjudicated guiltyoftheseoffensets):
                                                                                  Date
Title& Section                     N ature ofO ffense                             Offense Ended                            Count

l8 U .S.C .l701                    O bstruction ofM ailsGenerally                 5/6/08                                   1




         Thedefendantissentencedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof 1984.

( ) Thedefendanthasbeenfoundnotguilt 'yoncountts)
(Z) AIIremainingcountsaredïsmissed onthemotionofthe UnitedStates.
       IT IS ORDERED thatthe defendantmustnotify the United StatesAtlorney forthisdistrictwithin 30 days ofany
ehange ofnam e,residence.orm ailing address untilaIIfines,restitution,costs,and specialassessm ents imposed by this
judgmentarefully paid. lfordered to pay restitution,thedefendantmustnotify thecourtand United Statesattolmey of
m aterialchangesin econom ic circum stances.

                                                                    SEPTEM BER 2ls2009
                                                                    Dateoflmposition ofJudgment




                                                                    SignatureofJudge

                                                                    LARRY R.HICKS
                                                                    U.S.DISTRICT JU DGE
                                                                    N am eand Title ofJudge

                                                                           q /z'w/of
                                                                    Date
           Case 3:08-cr-00045-LRH-VPC            Document 94       Filed 09/22/09      Page 2 of 5
AO 2458 (Rev.09/08)JudgmentlnaCrimlnalCase
         Sheet2-lmprisonment
DEFENDANT:               M ICHAEL STRAIN                                                      Judgment-Page 2
CASENUM BER:             3:08-cr-45-LRH(RAM )
                                                IM PRISO N M EN T

        Thedefendantishereby comm ittedtothecustody ofthe United StatesBureauofPrisonsto beimprisoned foratotal
term of:TIM E SERVED




  )     ThecourtmakesthefollowingrecommendationstotheBureauofPrisons'
                                                                    .




        Thedefendantisremanded to the custody ofthe United StatesM arshal.

        Thedefendantshallsurrenderto theUnited StatesM arshalforthisdistrict:
        ()       at              a.m./p.m.on
        ()       asnotifiedbytheUnited StatesMarshal.
        The defendantshallsurrenderforserviceofsentenceatthe institution designated by the Bureau ofPrisons:
        ()       before 2 p.m.on
        ()       asnotifiedbytheUnited StatesMarshal.
        ()       asnotifiedbytheProbation ofPretrialServicesOffice.
                                                    RETU R N

Ihaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                               to
at                                                                        ,withacertitiedcopyofthisjudgment.

                                                            UNITED STATES M A RSHA L

                                                            BY :
                                                                      Deputy United StatesM arshal
           Case 3:08-cr-00045-LRH-VPC                 Document 94           Filed 09/22/09        Page 3 of 5
Xo 245B (Rev09708)JudjmcntlnaCrlminalCasc
A
         Sheet4-Probatlon
D EFEN DANT:                M ICHAEL STRAIN                                                               Judgrnent-Page 3
CASE NUM BER:               3:08-cr-45-LRH(RAM )
                                                        PRO BAT IO N

        The defendantishereby sentenced to probation fora term ofTW O (2)YEARS

The defendantshallnotcom m itanotherfederal,state,orIocalcrime.

Thedefendantshallnotunlaw fully possessa controlled substance. Thedefendantshallrefrain from any unlawfuluse ofa
eontrolled substance.Thedefendantshallsubm ittoonedrug testwithin 15 daysofreleasefrom imprisonmentand atleast
two periodic drug teststhereafter,notto exceed 104 drug testsannually'. Revocation ismandatory forrefusalto com ply.

        Theabove drugtesting condition issuspended basedonthecourt-sdeterm ination thatthedefendantposesa low risk
        offuturesubstanceabuse.(Check,ifapplicable.)
        Thedefbndantshallnotpossessafirearm.ammunition,destructivedevice oranyotherdangerousweapon.(Check
        ifapplicable.)
        ThedefendantshallcooperateinthecollectionofDNA asdireded bytheprobationoffice.(Check.ifapplicable.)
        ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42 U.S.C.
        j 16901,etseq.)asdirectedbytheprobationoffice,theBureauofPrisons,orany statesex offenderregistration
        agency in which he orshe resides,works,is a student,orwas convicted ofa qualifying offense.(Checkpif
        applicable.)
    )   Thedefendantshallparticipate in anapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesafineorarestitution,itisaconditionofprobationthatthedefendantpayinaccordancewith
theScheduleofPaymentssheetofthisjudgment.
        Thedefendantm ustcomply with the standard conditionsthathave been adopted bythiscourtaswellaswith any
additionalconditionson the attached page.

                                    STANDARD CONIX TIO NS OF SUPERVISIO N

        thedefendantshallnotIeavethejudicialdistrictw'ithoutthepennissionofthecourtorprobationoftice'
                                                                                                    ,
        thedefendantshallrepon totheprobationofficeandshallsubm itatruthfulandcompletewrittenreportwithinthesrstfivedays
        ofeach month'
3)      thedetbndantshallanswertruthfullyallinquiriesby theprobationoft    iceand follow theinstructionsoftheprobation office'  ,
4)      thedefendantshallsupporthisorherdependantsandm eetotherfam ilyresponsibilities;
5)      thedefendantshallw orkregularlyatalawfuloccupation unlessexcusedbytheprobationofficeforschooling.training,orother
        acceptablereasons'
        thedefendantshallnotify theprobation officeten dayspriortoanychangein residenceoremploym ent;
        the defendantshallrefrain from excessive use ofalcoholand shallnotpurchase,possess.use,distribute,oradm inisterany
        controlled substanceoranyparaphernaliarelatedto anycontrolled substances,exceptasprescribedby aphysician'       ,
8)      thedefendantshallnotfrcquentplaceswherecontrolled substancesare illegally sold.used.distributed,oradm inistered'
9)      thedefendantshallnotassociatewithanypersonsengagedincrim inalactivity,and shallnotassociatew ithanypersonconvicted
        ofafelonyunlessgranted perm ission todo sobythcprobation office'    ,
        thedefendantshallpcrmitaprobation ofscetovisithim orheratany tim eathom eorelsewhereand shallperm itconfiscation
        ofanycontraband observed in plain view oftheprobation office.  '
        thedefendantshallnotifytheprobation officew ithin seventy-twohoursofbeing arrestedorquestionedby a Iaw enforcement
        office:
        thedefendantshallnotenterintoan).  'agreementtoactasaninfonneroraspecialagentofalaw enforcem entagencywithoutthe
        perm ission ofthe coul-t'and
        asdirectedby theprobation otlice,thedetkndantshallnotify third partiesofrisksthatm ay beoccasioned by thedefendant's
        crim inalrecord or personalhistory or characteristics.and shallperm itthe probation oftice to make such notifications and to
        confirm thedefendant'scompliancewith suchnotificationrequirem ent,
            Case 3:08-cr-00045-LRH-VPC                Document 94     Filed 09/22/09   Page 4 of 5
AO 2458 (Rev.09/08)Judgmentl
                           n aCriminalCase
         Shcet3-supervlsed Release
DEFEN DANT:                M ICHAEL STRA IN                                                  Judgment-Page 4
CASE NUM BER:              3:08-cr-45-LRH(RAM)
                                          SPECIAL CO ND ITION S O F SIJTPERVISION

        W arrantlessSearch -Thedefendantshallsubm ithisperson,propertl',residenceorautom obileunderhiseontrolby
        the probation ofticerorany otherauthorized person underthe im mediateand personalsupervision ofthe probation
        ofticer.withouta search warrantto ensure compliance with al1conditionsofrelease.

        Substance Abuse Treatment- The defendant shallparticipate in,and successfully complete-a substance abuse
        treatm entand/orcognitivebasedlifeskillsprogram ,whichwillincludedrug/alcoholtestingoroutpatientcounseling,
        asapproved and directed by theprobation officer.Further,thedefendantshallberequiredto contributetotheoosts
        ofservioesforsuchtreatment,asapproved and directed by'the probation officer,based upon hisability to pay. As
        partofthistreatment.thedefendantshallenterand com plete a28 day residentialinpatienttreatmentprogram .

        AlcoholAbstinence -Defendantshallrefrain from the use and possession ofbeer,w inepIiquorand otherform sof
        intoxicants.

        Gamblinky.Prohibition -The defendantshallnotenter.frequent,orbe involved with any legalorillegalgam bling
        establishmentoractivity,exceptforthepurposeofem ploym ent,asapproved and directed by theprobation ofticer.

        Gamblinu Addiction Treatment-The defendantshallrefrain from any form ofgambling and shallparticipate in a
        program forthetreatmentofgam bling addiction.athisown expense.as approved and directed by the probation
        ofticer,based upon hisability to pay.

         Reportto Probation OfficerAfterReleasefrom Custods' - Defendantshallreportpin person,to theprobation office
                                                               a

         in thedistrictto which he isreleased within 72 hoursofdischargefrom custody.




AC)2458 (Rev09/08)Judgmentin aCrl
                                m inalCase
          Sheet5-Crlm InalM onctan Penalties
DEFEND ANT:                 M ICHAEL STRAIN                                                    Judgment-Page 5
CASE NUM BER:               3:08-cr-45-LRH(RAM )
          Case 3:08-cr-00045-LRH-VPC              Document 94          Filed 09/22/09   Page 5 of 5

                                    C R IM IN AL M O N ETA RY PEN ALT IES

       The defendantm ustpay the totalcrim inalm onetao'penaltiesunderthe schedule ofpaym entson Sheet6.

                               Assessm ent                      Fine                         Restitution

       Totals:                 $10.00                           SW AIVED                     $N/A
                               Due and payable imm ediately'.

(      On motion by the Government.IT IS ORDERED thatthe specialassessm entimposed by the Courtisrem itted.

       The determ ination ofrestitution isdeferred until                   . An Amended Judgmentin aCrim inalCase
       (AO 245C)willbeenteredaftersuchdetermination.

       Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
       below.

       lfthe defendantmakesapartialpaym ent,each payee shallreceivean approximately proportioned paym ent,unless
       specitied otherwiseinthepriority orderorpercentagepaymentcolumn below. However pursuantto 18U.S.C.j
       3664(1).aIlnonfederalvictimsmustbepaid beforetheUnited Statesispaid.
Nam e ofPavee                           TotalLoss               Restitution Ordered          Prioritv ofPercentace

Clerk.U.S.DistrictCourt
Atln:FinancialOffice
CaseNo.
333 LasVegasBoulevardpSouth
LasV egas.NV 8910I

TOTAI>S                                                         $


Restitution am ountordered pursuantto pleaagreem ent: $

The defendantm ustpay intereston restitution and a tine ofm orethan $2,500-unlessthe restitution orfine ispaid in full
beforethefifleenthday'afterthedateofjudgment.pursuantto 18U.S.C.j36l2(9.AlIofthepaymentoptionson Sheet6
may t)esubjecttopenaltiesfordelinquencyand default.pursuantto 18U.S.C.j3612(g).
The courtdetennined thatthe defendantdoesnothavethe ability to pay interestand itisordered that:

       theinterestrequirementiswaived forthe: ( )tine ( )restitution.
       the interestrequirementforthe: ( )Gne ( )restitution ismoditiedasfollows:




#Findingsforthetotalam ountoflossesare required underChapters 109A, 110p1l0Aeand 1l3,
                                                                                    4 ofTitle l8 foroffenses
comm itted on orafterSeptem ber l3,l994 butbefore April23-1996.
